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 4   Attorney for Defendant
     ROBIN RYAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:13-MJ-00206-AC
11                                 Plaintiff,            STIPULATION AND [PROPOSED]
                                                         ORDER TO CONTINUE BENCH
12          vs.                                          TRIAL, AND TO EXCLUDE TIME
                                                         PURSUANT TO THE SPEEDY TRIAL
13   BARRY BINKS, et al.,                                ACT
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Michael Stanley, Assistant United States Attorney, attorney for plaintiff;
18   Mark Reichel, attorney for defendant Mari Blome; Linda Harter, attorney for defendant
19   William Doub; Joseph Marman, attorney for defendant Martha Hubert; and Michael Hansen,
20   attorney for defendant Robin Ryan, that the previously-scheduled bench trial date of December
21   2, 2013, be vacated and the matter set for bench trial on January 13, 2014, at 9:00 a.m.
22          This continuance is requested to accommodate defendants’ schedules.
23          The Government concurs with this request.
24          Further, the parties agree and stipulate the ends of justice served by the granting of such
25   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
26   that time within which the trial of this case must be commenced under the Speedy Trial Act
27   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
28   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’


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 1   stipulation, October 17, 2013, to and including January 13, 2014.
 2          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 3          IT IS SO STIPULATED.
 4   Dated: October 17, 2013                               Respectfully submitted,
 5                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 6                                                         Attorney for Defendant
                                                           ROBIN RYAN
 7
     Dated: October 17, 2013                               /s/ Michael E. Hansen for
 8                                                         MARK REICHEL
                                                           Attorney for Defendant
 9                                                         MARI BLOME
10   Dated: October 17, 2013                               HEATHER E. WILLIAMS
                                                           Federal Defender
11
                                                           By: /s/ Michael E. Hansen for
12                                                         LINDA HARTER
                                                           Attorney for Defendant
13                                                         WILLIAM DOUB
14   Dated: October 17, 2013                               /s/ Michael E. Hansen for
                                                           JOSEPH MARMAN
15                                                         Attorney for Defendant
                                                           MARTHA HUBERT
16
     Dated: October 17, 2013                               BENJAMIN B. WAGNER
17                                                         United States Attorney
18                                                         By: /s/ Michael E. Hansen for
                                                           MICHAEL STANLEY
19                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
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21
22                                       [PROPOSED] ORDER
23          The Court, having received, read, and considered the stipulation of the parties, and
24   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
25   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
26   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
27   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
28   specifically finds that the failure to grant a continuance in this case would deny defense


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 1   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 2   account the exercise of due diligence. The Court finds that the ends of justice to be served by
 3   granting the requested continuance outweigh the best interests of the public and the defendants
 4   in a speedy trial.
 5           The Court orders that the time from the date of the parties’ stipulation, October 17,
 6   2013, to and including January 13, 2014, shall be excluded from computation of time within
 7   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
 8   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to
 9   prepare). It is further ordered that the December 2, 2013, bench trial shall be continued until
10   January 13, 2014, at 9:00 a.m.
11           IT IS SO ORDERED.
12   Dated: October 18, 2013
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